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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division
__________________________________________
LULA WILLIAMS, et al.,                      )
                                            )
                        Plaintiffs,         )
            v.                              )     Civil Action No. 3:17-cv-461 (REP)
                                            )
BIG PICTURE LOANS, LLC, et al.,             )
                                            )
                        Defendants.         )
__________________________________________)

        PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
     DOCUMENTS WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE

          Plaintiffs, by counsel, pursuant to Rule 37 of the Federal Rules of Civil Procedure and the

telephone conference held by the Court on October 16, 2017, move for an order compelling

production of all documents identified on Defendant Big Picture Loans, LLC’s (“Big Picture

Loans”) privilege logs dated October 2, 2017, October 10, 2017, and October 13, 2017.1

I.        Overview of the Lawsuit

          To evade state usury and licensing laws, several payday lenders—who were restricted from

making loans in certain states—circumvented lending restrictions by originating payday loans in

the name of national banks. Because banks did not have the same lending restrictions, the bank

served as a conduit for the loans in exchange for a nominal fee, but the payday lender funded,

serviced, and collected the loans. When federal regulators began cracking down on these “rent-a-

bank” arrangements, the payday lenders developed a solution—they adapted the structure to use

Native American tribal entities as the conduit for the loan in an attempt to cloak the loans in tribal

sovereign immunity. Like the rent-a-bank arrangement, the loans would be originated in the name



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    The privilege logs are attached as Exhibit 1, 2, & 3, respectively.


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of a tribal entity, but the tribal entity served as nothing more than a front and the non-tribal

participants reaped exorbitant profits from the loans and controlled the day-to-day operations. In

return for the use of their name and potential immunity, the tribal entities received a nominal

percentage of the revenues and had minimal responsibilities for the day-to-day operations.

          This case involves a rent-a-tribe enterprise operated by Defendant Matt Martorello

(“Martorello”). Through an association with the Lac Vieux Desert Band of Lake Superior

Chippewa Indians (“LVD” or “Tribe”), Martorello and his companies funded, collected, and ran

the day-to-day operations of Red Rock Tribal Lending, LLC (“Red Rock”) and Defendant Big

Picture Loans, LLC (“Big Picture Loans”)—two companies formed under the laws of the LVD to

disguise Martorello’s companies’ roles and to shield the scheme through a dubious claim of tribal

sovereign immunity. Although Red Rock and Big Picture Loans were held out as the actual lender

of the internet loans, Martorello’s companies and their employees provided the infrastructure to

market, fund, underwrite, and collect the loans. Because Red Rock and Big Picture Loans were

barely involved in the operations—handling a small percentage of the customer service from the

reservation—the tribal entities received a 2% flat fee of the net profits from the loans.2

II.       Overview of the Motion and Nature of the Documents Sought

          On September 1, 2017, the Court entered an order permitting the parties to take

jurisdictional discovery as to issue of sovereign immunity, and Plaintiffs served their discovery on

Defendants upon receipt of the Order. On October 2, 2017, Big Picture Loans provided its initial

discovery responses, which included a privilege log identifying 70 documents withheld on the

basis of attorney client privilege. (Oct. 2, 2017 Privilege Log, attached as Ex. 1). Big Picture Loans

provided a second privilege log on October 10, 2017, which identified an additional 179



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    Big Picture Loans started receiving 3% of the net profits in January 2017.


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documents withheld on the basis of attorney client privilege and/or work product. (Oct. 10, 2017

Privilege Log, attached as Ex. 2). A third privilege log was served on October 13, 2017, which

identified 6 additional documents as withheld on the basis of attorney client privilege. (Oct. 13,

2017 Privilege Log, attached as Ex. 3).

       Pursuant to Rule 37(a)(1), Plaintiffs seek to compel the production of the documents on

Big Picture Loans’ privilege logs. As explained in more detail below, the documents should be

produced for four separate reasons. First, Big Picture Loans should be prohibited from claiming

privilege because Virginia law criminalizes the conduct at issue in this case and, thus, the

documents are textbook examples of type of documents subject to the crime/fraud exception. See,

e.g., Duplan Corp. v. Deering Milliken, Inc., 540 F.2d 1215, 1220 (4th Cir. 1976); Va. Code § 6.2-

1540 (making it a class 2 misdemeanor for any person who violates or participates in the violation

of Virginia’s interest rate cap). Second, Big Picture Loans waived any claim of privilege due to its

failure to comply with Rule 26(b)(5)’s privilege log description requirements, which requires the

party to “describe the nature of the documents” in a manner that will enable the other party “to

assess the claim” of privilege. FED. R. CIV. P. 26(b)(5). Waiver is an appropriate sanction where,

as here, a party provides conclusory descriptions that are useless for determining whether the

information withheld is privileged.

       Third, the attorney-client privilege only applies to communications involving an attorney

in her capacity “as a legal advisor,” not in her capacity “as a business advisor.” Neuberger Berman

Real Estate Income Fund, Inc. v. Lola Brown Trust No. 1B, 230 F.R.D. 398, 411 (D. Md. 2005).

Nevertheless, Big Picture Loans improperly withheld general business documents, such as

communications concerning “return rates,” “other business-related issues,” “employee additions,”

and advice regarding the “website” and “call scripts.” And fourth, many of withheld documents




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involve communications with or include the presence of third parties, such as Martorello and

employees of his companies. The presence of Martorello and other third parties renders these

communications “not confidential” and, thus, “not privileged.” See, e.g., Sprenger v. Rector & Bd.

of Visitors of Virginia Tech, 2008 WL 2465236, at *2 (W.D. Va. June 17, 2008).

III.   Argument

       1.      The crime/fraud exception to the attorney client privilege applies in this case.

        “The crime/fraud exception to the attorney-client and work product privileges provides

that otherwise privileged communications or work product made for, or in furtherance of, the

purpose of committing a crime or fraud will not be privileged or protected.” Rambus, Inc. v.

Infineon Technologies AG, 222 F.R.D. 280, 287 (E.D. Va. 2004) (citing Chaudhry v. Gallerizzo,

174 F.3d 394, 403 (4th Cir. 1999)). While this concept is often referred to as an “exception” to

privilege, in fact it is actually an “exclusion of certain activity from the prospective reach of the

privileges.” Id. The policy underlying the crime/fraud exception is that advice in furtherance of

“fraudulent or unlawful goals” is “not worthy of protection.” Id. (quoting In re Grand Jury

Subpoena, 731 F.2d 1032, 1038 (2nd Cir. 1984).

       Though discussed as the “crime/fraud” exclusion, the concept is much broader. For

example, the Fourth Circuit has even referred to it as the “the tort, fraud, or crime exception.”

Duplan Corp., 540 F.2d at 1220\. And “many courts have applied the exception to situations falling

well outside of the definitions of crime or fraud.” Rambus, 222 F.R.D. at 288 (citing Parrott v.

Wilson, 707 F.2d 1262, 1271 (11th Cir.1983); Cleveland Hair Clinic, Inc. v. Puig, 968 F.Supp.

1227, 1241 (N.D. Ill. 1996)).

       The crime/fraud exception is easily triggered in this case because Virginia law

unequivocally criminalizes the conduct at issue in this case. Va. Code § 6.2-1540. In particular,




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Va. Code § 6.2-1540 provides “[a]ny person, including members, officers, directors, agents, and

employees of an entity, who violates or participates in the violation of any provision of § 6.2-1501

is guilty of a Class 2 misdemeanor.” Id. (emphasis added). In turn, Va. Code § 6.2-1501 provides

that “[n]o person shall in engage in the business of making loans to individual . . . and charge,

contract for, or receive, directly or indirectly, on or in connection with any loan interest” an amount

greater than 12% without first obtaining a license from the Virginia State Corporation

Commission. Va. Code § 6.2-1501(A); see also Va. Code § 6.2-303. Defendants blatantly violated

these provisions as they offered and collected on loans in excess of 649%. (See Aug. 3, 2016 Loan

Agreement,      attached    at    Dkt.    1-1;    see    also    Big     Pictures    Loans,     Rates,

https://www.bigpictureloans.com/loan-rates (last visited on Oct. 23, 2017) (showing a rate as high

as high as 765%).

       Less than six months ago, the United States District Court for the Southern District of New

York applied the crime/fraud exception in a criminal action against the mastermind of a similar

rent-a-tribe scheme. United States v. Tucker, No. 16-CR-91 (PKC), 2017 WL 2470836, at *1

(S.D.N.Y. June 6, 2017). In that case, the indictment charged Scott Tucker and Timothy Muir with

“conspiracy to collect unlawful debts” and “collection of unlawful debts,” through several payday

lending businesses that Tucker managed and controlled, but “were nominally owned by American

Indian tribes, including the Miami Tribe of Oklahoma.” Id. Just like this case, the government

alleged that “Tucker entered into sham relationships with the Indian tribes in order to invoke tribal

immunity and continue lending practices that would otherwise be unlawful.” Id. Accordingly, the

government sought documents related to a lawsuit filed by Muir, an attorney, for the “purpose of

retroactively filing a merger certificate and invoking tribal immunity.” In finding the documents

were not privileged due to the crime/fraud exclusion, the court observed that the “continuation of




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an unlawfully usurious lending business was the crime or fraud attempted, and the communications

and documents concerning Tucker v. AMG were in furtherance thereof because they were part of

an effort to baselessly invoke the protections of tribal immunity.” Id. at 3.

       Like Tucker, Defendants do not concede any of these allegations in this case and are

expected to contest liability at all stages of this litigation. However, the burden required for the

application of the crime/fraud exception does not require a concession or success on the merits.

Instead, Plaintiffs are only required to make a prima facie showing that the legal advice or work

product at issue here was obtained in furtherance of illegal activity or misconduct. In re Grand

Jury Proceedings, Thursday Special Grand Jury Sept. Term, 1991, 33 F.3d 342, 348 (4th Cir.

1994) (“the government had to make a prima facie showing that the communications sought fell

within the crime-fraud exception.”); Rambus, 222 F.R.D at 285. As explained below, Plaintiffs

possess sufficient evidence to make a prima facie showing that the legal advice contained in the

privilege logs was obtained in furtherance of Defendants’ efforts to violate Virginia’s usury laws.

       A. The evidence easily satisfies the prima facie standard.

               i.      The initial structure of the rent-a-tribe enterprise.

       The discovery produced in this case confirms that Martorello established a rent-a-tribe

enterprise with the intent of circumventing usury and interest laws.




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               ii.     Events leading to the change in structure and creation of Big Picture
                       Loans and Ascension Technologies.

       In August 2013, the New York Department of Financial Services issued a cease and desist

to Red Rock warning it to stop offering its illegal credit products to New York consumers. Otoe-

Missouria Tribe of Indians v. New York State Dep't of Fin. Servs., 974 F. Supp. 2d 353, 356

(S.D.N.Y. 2013), aff’d, 769 F.3d 105 (2d Cir. 2014). The New York Department of Financial

Services also issued warnings to third parties, such as banks and payment processors, to cease

providing electronic banking services to Red Rock. Id. As a result, these third-party companies

“cut back or cut off entirely their financial dealings with the Tribes.” Id.

       In response, Red Rock filed a lawsuit on August 21, 2013, seeking declaratory relief and a

preliminary injunction that tribal businesses were inherently sovereign nations and were not

subject to the law of New York. Id. The district court denied Red Rock’s request for a preliminary

injunction on September 30, 2013, finding that the “undisputed facts demonstrate[d]” that the

illegal activity was “taking place in New York, off of the Tribes’ lands,” and thus, Red Rock was


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  This is similar to the rent-a-tribe structure involving Scott Tucker and the Miami Tribe of
Oklahoma. See People ex rel. Owen v. Miami Nation Enterprises, 2 Cal. 5th 222, 253, 386 P.3d
357, 377 (2016) (“But other evidence casts doubt on whether [the tribal entities’] role in approving
loans indicates a significant degree of control. Documents compiled as part of the FTC
investigation suggest the bulk of AMG’s operations are conducted in Kansas, outside the
boundaries of the Miami Tribe (in Oklahoma) and the Santee Sioux Nation (in Nebraska). In 2011,
for example, AMG registered its location in Kansas, where it employed 606 individuals and paid
more than $20 million in wages.”)



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“subject to the State’s non-discriminatory anti-usury laws.” Id. at 361. In doing so, the court

reasoned “[t]here is simply no basis from which to infer . . . that the Tribes are treated differently

from any other individuals or entities that enter New York to lend to New York resident.” Id. On

October 1, 2014, the Second Circuit affirmed the district court’s decision. 769 F.3d 105.

       The loss in Otoe-Missouria was the not only problem for Martorello’s scheme—various

lawsuits and government enforcement actions against Defendants’ competitors brought attention

to the sham business model. See, e.g., In re Moses, No. 12-05563-8-RDD, 2013 WL 53873, at *4

(Bankr. E.D.N.C. Jan. 3, 2013), subsequently aff'd in part, rev'd in part, Moses v. CashCall, Inc.,

781 F.3d 63 (4th Cir. 2015) (“I do not hesitate to observe the odiousness of CashCall's apparent

practice of using tribal arbitration agreements to prey on financially distressed consumers, while

shielding itself from state actions to enforce consumer protection laws.”); In Re Cashcall, Inc.,

2013 WL 3465250, at *3 (“it appears that Western Sky is nothing more than a front to enable

CashCall to evade licensure by state agencies and to exploit Indian Tribal Sovereign Immunity to

shield its deceptive business practices from prosecution by state and federal regulators.”); Heldt v.

Payday Fin., LLC, 12 F. Supp. 3d 1170, 1179 (D.S.D. 2014); Consumer Financial Protection

Bureau v. CashCall, Inc., No. 1:13-cv-13167 (Dec. 16, 2013).

               iii.    Defendants create Big Picture Loans and Ascension Technologies to
                       add an additional layer of protection to the scheme.




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       In short, the undisputed evidence in this case establishes an intentional effort to violate and

participate in the violation of state usury laws, which is a crime in Virginia. Because the legal




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advice was obtained in furtherance of this criminal conduct, the documents should not be

considered privileged under the crime/fraud exception.

       2. Waiver is an appropriate sanction due to Big Picture Loans’ failure to comply
          with Rule 26(b)(5)’s description requirements.

       Privilege protections serve “an important purpose in our legal system, but that application

can also ‘remove otherwise pertinent information from the fact finder, thereby impeding the full

and free discovery of the truth.’” ePlus Inc. v. Lawson Software, Inc., 280 F.R.D. 247, 251 (E.D.

Va. 2012) (quoting Rambus, Inc. v. Infineon Techs. AG, 220 F.R.D. 264, 271 (E.D. Va. 2004)). In

the Fourth Circuit, assertions of work-product and attorney-client privilege are construed “quite

narrowly” and the proponent of the privilege bears the burden to demonstrate its applicability.

Rambus, 220 F.R.D. at 271. Accordingly, Rule 26(b)(5)(A)(ii)’s requires that a party “describe the

nature of the documents” and “do so in a manner” that “will enable the other parties to assess the

claim.” FED. R. CIV. P. 26(b)(5)(A)(ii); see also Rambus, 220 F.R.D. at 272 (“the descriptions in

the log must satisfy the claiming party’s burden.”).

       To establish the applicability of the attorney-client privilege, a party’s log must be

sufficiently detailed to show: (1) “the person to whom the communication was made . . . act[ed]

as a lawyer [in connection with the communication],” (2) “the communications relates to a fact of

which the attorney was informed (a) by his client (b) without the presence of strangers (c) for the

purpose of securing primarily (i) an opinion on law or (ii) legal services or (iii) assistance in some

legal proceeding[.]” Hawkins v. Stables, 148 F.3d 379, 383 (4th Cir. 1998). To establish each of

these elements, “an adequate ‘privilege log’ should contain: a brief description or summary of the

contents of the document, the date the document was prepared, the person or persons who prepared

the document, the person to whom the document was directed, or for whom the document was

prepared, the purpose in preparing the document, the privilege or privileges asserted with respect



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to the document, and how each element of the privilege is met as to that document.” Cappetta v.

GC Servs. Ltd. P’ship, 3:08-cv-288, 2008 WL 5377934, at *4 (E.D. Va. Dec. 24, 2008) (quoting

Burns v. Imagine Films Entm’t, Inc., 164 F.R.D. 589, 593 (W.D.N.Y. 1996).

       Big Picture Loans’ privilege log violates Rule 26(b)(5)’s description requirements. For

example, the first privilege log does not include a date for 64 of the documents. (Ex. 1 at

PRIV_0001-0064). It also does not contain specific information regarding the person who prepared

the document for 30 entries and, instead, the log generically identifies “Rosette, LLP” as the

author. (Ex. 1 at PRIV_0011-0016, PRIV_0033-0034, PRIV_0036-0037, PRIV_0045,

PRIV_0050-0064, PRIV_0072-0074, PRIV_0079-0080). For many of the entries omitting the

author, Big Picture Loans also failed to specifically identify the recipient and, instead, it

generically identified “Big Picture Loans” or “Ascension Technologies.” (Ex. 1 at PRIV_0002-

0003, PRIV_0011-0016, PRIV_0050-0064, PRIV_0072-0074).8

       Worse yet, Big Picture Loans’ description of the documents on the privilege logs makes it

impossible for Plaintiffs to assess the applicability of privilege. Instead, Big Picture Loans’

descriptions are nothing more than conclusory assertions, such as “legal advice regarding

handbook,” “legal advice regarding the formation of Big Picture Loans,” and “legal advice

regarding approval for compliance policies.” (Ex. 1, at PRIV_0001, PRIV_0002, PRIV_0003).

There is no further explanation or purported proof that the communication involved a person acting


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  The second log contained similar deficiencies. It did not include a date for 132 of the documents.
(Ex. 2, PRIV_0081-213). It listed either “Rosette, LLP” or no author whatsoever for a majority of
the entries. (Ex. 2, PRIV_0081-0093, PRIV_0098-0104, PRIV_0125-0153, PRIV_0155,
PRIV_0160, PRIV_0166-0167, PRIV_0171-0174, PRIV_0177, PRIV_0180-0189, PRIV_0192,
PRIV_0195, PRIV_0196, PRIV_0199, PRIV_0201-0204, PRIV_0205- PRIV_0207-0208,
PRIV_0211, PRIV_0214, PRIV_0217-0221, PRIV_0229, PRIV_0231-0233, PRIV_0252,
PRIV_0256). And the log also omits the recipients for a majority of the entries. (Ex. 2,
PRIV_0081-0093, PRIV_0098-0153, PRIV_0155-0157, PRIV_0159-0160, PRIV_0172-0174,
PRIV_0177, PRIV_0180-0186, PRIV_0205-0206, PRIV_0208-0209, PRIV_0211, PRIV_0214,
PRIV_0217-0221, PRIV_0222-0223).


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as a lawyer and contained facts of which the attorney was informed without the presence of

strangers for legal advice. RLI Ins. Co. v. Conseco, Inc., 477 F. Supp. 2d 741, 751 (E.D. Va. 2007)

(“A conclusory allegation that the documents sought are protected by attorney-client privilege is

inadequate to meet this burden. RLI needed to demonstrate specific facts showing that the

communications were privileged. Because RLI instead submitted only a conclusory statement that

the ‘communications’ must have been privileged, it failed to meet its burden of proof.”).

        Failure to provide an adequate privilege log may result in a waiver of privilege, Cappetta,

2008 WL 5377934, at *4, an outcome that is not rare in this District. Burke v. Fed. Nat’l Mort.

Ass’n, No. 3:16-cv-00153 (E.D. Va. Oct. 6, 2016) (Novak, J.) (Dkt. 91) (finding privilege waived

due to failure to provide privilege log with responses and insufficient descriptions); ePlus Inc., 280

F.R.D. at 251, 252 (finding privilege waived where party failed to provide author and recipient

information). In determining whether waiver is an appropriate sanction, this Court has examined

a number of factors, including: (1) the reasonableness of the effort made by the party; (2) the time

taken to rectify any error; (3) the scope of discovery; (4) and the overriding fairness of the

assertion. Cappetta, 2008 WL 5377934, at *4. In short, waiver is appropriate “[w]here a party has

taken no precautions to properly assert the privilege, and has allowed time to pass without

clarifying the basis for its assertion of privilege[.]” Id.

        In this case, waiver is an appropriate sanction because Big Picture Loans did not make a

reasonable efforts to satisfy its obligations under Rule 26(b)(5). It omitted basic information that

would have taken a few hours to log, such as the date, author, and recipients. It also completely

disregarded its obligation to provide detailed descriptions and allowed far too much time to pass

without correcting its errors, including more than 3 weeks after Big Picture Loans’ counsel was

notified of the deficiencies on October 3, 2017.




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       3.      Waiver is appropriate because many of the documents listed on the privilege
               logs are business documents that do not contain legal advice.

       The attorney-client privilege has long been understood to protect corporate clients and

counsel. Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). However, the privilege is limited

to situations in which the attorney is acting as a legal advisor—business and financial advice are

not protected. Burden–Meeks v. Welch, 319 F.3d 897, 899 (7th Cir. 2003). In the case of documents

that provide both business and legal advice, a party must show that the advice given in the

documents are more likely “legal” than “business” in nature in order to withhold the document on

a privilege objection. Brainware, Inc. v. Scan-Optics, Ltd., 3:11-cv-755, 2012 WL 2872812, at *3

n.3 (E.D. Va. July 12, 2012), reconsideration denied, 3:11-cv-755, 2012 WL 3555410 (E.D. Va.

Aug. 16, 2012) (citing Am. Nat’l Bank & Trust Co. v. Equitable Life Assur. Soc’y of the U.S., 406

F.3d 867, 879 (7th Cir. 2005); Neuder v. Battelle Pac. N.W. Nat’l Lab., 194 F.R.D. 289, 293

(D.D.C. 2000) (“In cases that involve in-house counsel it is necessary to apply the privilege

cautiously and narrowly lest the mere participation of an attorney be used to seal off disclosure.”));

see also United States v. Frederick, 182 F.3d 496, 501 (7th Cir. 1999) (holding that “a dual-purpose

document—a document prepared for use in preparing tax returns and for use in litigation—is not

privileged.”); Baxter Travenol Labs., Inc. v. Abbott Labs., No. 84 C 5103, 1987 WL 12919, at *5

(N.D. Ill. June 19, 1987) (“Where a document is prepared for simultaneous review by legal and

non-legal personnel and legal and business advice is requested, it is not primarily legal in nature

and is therefore not privileged.”).9


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  See also Neuberger Berman Real Estate Income Fund, Inc. v. Lola Brown Trust No. 1B, 230
F.R.D. 398, 411 (D. Md. 2005) (“communications by a corporation with its attorney, who at the
time is acting solely in his capacity as a business advisor, would not be privileged.”); F.C. Cycles
Int'l, Inc. v. Fila Sport, S.p.A., 184 F.R.D. 64, 71 (D. Md. 1998) (“What would otherwise be
routine, non-privileged communications between corporate officers or employees transacting the
general business of the company do not attain privileged status solely because in-house or outside
counsel is ‘copied in’ on correspondence or memoranda.”).


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        While the “expanded role of legal counsel within corporations” has blurred the line

between business and legal advice, Acosta v. Target Corp., 281 F.R.D. 314, 322 (N.D. Ill. 2012),

and a prudent corporation will seek legal advice with respect to most corporate decisions, the

inclusion of general counsel does not transform all business discussions into privileged attorney-

client communications. Upjohn, 449 U.S. at 393. In fact, at least one court has held that “the

increasing inclusion of attorneys in business discussions and decisions has ‘increased the burden

that must be borne by the proponent of corporate privilege claims relative to in-house counsel.’”

RBS Citizens, N.A. v. Husain, 291 F.R.D. 209, 217 (N.D. Ill. 2013) (internal citations omitted).

And of course, the party asserting the privilege bears the burden of showing that the documents

constitute legal, and not merely business, advice. Rambus, Inc. v. Infineon Techs. AG, 220 F.R.D.

264, 271 (E.D. Va. 2004) (citing United States v. Under Seal, 341 F.3d 331, 335 (4th Cir. 2003));

Brainware, Inc., 2012 WL 2872812, at *1. And, under the test established by the Fourth Circuit,

the party must show that “‘the communication must be for the purpose of “securing primarily

either (i) an opinion on law or (ii) legal services or (iii) assistance in some legal proceeding.’” Scott

& Stringfellow, LLC v. AIG Commercial Equip. Fin., Inc., No. 3:10-cv-825-HEH-DWD, 2011 WL

1827900, at *3 (E.D. Va. May 12, 2011) (quoting United States v. Jones, 696 F.2d at 1072.

(emphasis added)) (emphasis in original).

        Rosette, LLP served as in-house counsel for Red Rock, Big Picture Loans, and Ascension

Technologies. From the onset of the rent-a-tribe scheme, the Rosette attorneys were instrumental

in setting up the rent-a-tribe arrangement and working as the liaison between the tribal entities and

the non-tribal participants. As part of this process, Rosette attorneys often provided advice on

issues that appear to be exclusively business related. For example, Big Picture Loans’ October 2,

2017 privilege log claims privilege over advice regarding: an employee handbook (Ex. 1 at




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PRIV_0001, PRIV_0047), return rates (Ex. 1, at PRIV_0027), the website (Ex. 1 at PRIV_0048),

call center scripts (Ex. 1 at PRIV_0049, PRIV_0053, PRIV_0058), template customer emails and

text messages (Ex. 1 at PRIV_0050-51, PRIV_0054), revisions to the loan rate page (Ex. 1 at

PRIV_0055), and capital sources (Ex. 1 PRIV_0074).

       None of these entries indicate that Rosette was providing an opinion regarding the

application of a particular law to these documents, that the documents were used to secure legal

services, or that the documents were being used for assistance in a legal proceeding. Instead, these

documents appear to be reviews of draft business documents used in the Big Picture Loans’ general

business operations. Even worse, there are entries in the October 2 privilege log that explicitly

demonstrate that the documents are being withheld because they regard “various business matters.”

(Ex. 1 at PRIV_27-29). Big Picture Loans made no attempt to demonstrate that these documents

were more legal then business in nature.

       The October 10, 2017 privilege log is similarly flawed. It includes entries regarding email

templates (Ex. 2 at PRIV_0082-88), loan and customer payments (Ex. 2 at PRIV_0089-93),

marketing material (Ex. 2 at PRIV_0094-97), and presentation materials regarding entity

restructuring (Ex. 2 at PRIV_0105-0121). It also indicates that Big Picture Loans is withholding

documents related to “business issues.” (Ex. 2 at PRIV_0155, PRIV_0158). Again, these entries

do not contain any indicia of an application of a particular law, the procurement of legal services,

or that the use of the document in a particular proceeding.

       Therefore, Big Picture Loans has failed to carry their burden of proof that these documents

are subject to the attorney-client privilege and that the withholding of these documents from

discovery is justified. Accordingly, the Court should order production of the business-related

documents, i.e., PRIV_0001, PRIV_0027, PRIV_0047, PRIV_0048, PRIV_0049, PRIV_0050-51,




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PRIV_0053, PRIV_0054, PRIV_0055, PRIV_0058, PRIV_0074, PRIV_0082-88, PRIV_0089-93,

PRIV_0094-97, PRIV_0105-0121, PRIV_0155, and PRIV_0158.

       4.      Big Picture Loans cannot claim privilege to documents provided to third-
               parties.

       For the attorney-client privilege to apply, the communication “must have been made in

confidence.” Hawkins, 148 F.3d at 384. A party waives the privilege if it voluntarily produces the

privileged document to a third party. Scott & Stringfellow, LLC, 2011 WL 1827900, at *2 (citing

New Bank of New England v. Marine Midland Realty Corp., 138 F.R.D. 479, 482 (E.D. Va. 1991)).

When a party knowing discloses privileged material to a third-party, it surrenders the privilege

with respect to the world at large—it cannot selectively disclose the material and still assert

privilege. Burden-Meeks v. Welch, 319 F.3d 897, 899 (7th Cir. 2003). In addition, the Fourth

Circuit has held that, “if a client communicates information to his attorney with the understanding

that the information will be revealed to others, that information, as well as ‘the details underlying

the data which was to be published’ will not enjoy the privilege.” United States v. Under Seal, 33

F.3d 342, 354 (4th Cir. 1994) (quoting United States v. (Under Seal), 748 F.2d 871, 875 (4th Cir.

1984)). This means that “the details underlying the published data are the communications relating

the data, the document . . . to be published containing the data, all preliminary drafts of the

document, and any attorney’s notes containing material necessary to the preparation of the

document. Copies of other documents, the contents of which were necessary to the preparation of

the published document will also lose the privilege.” United States v. (Under Seal), 748 F.2d at

875, n.7.

       As explained above, Rosette served as in-house counsel for Red Rock, Big Picture Loans,

and Ascension Technologies—three separately incorporated entities. However, Rosette did not

have an attorney-client relationship Martorello, Bellicose Capital, SourcePoint or any other entity



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owned by Martorello. Nevertheless, Big Picture Loans has claimed attorney-client privilege over

emails sent by Rosette to Martorello and other employees of his company. (Ex. 1 at PRIV_0035,

PRIV_0037, PRIV_0046). Big Picture Loans has also claimed attorney-client privilege over

documents authored by Martorello’s brother. (Ex. 2 at PRIV_0236-0239). Because all of these

communications were provided to a third party outside of the attorney-client relationship, any

privilege protection that these documents once had have been waived.

       Additionally, Big Picture Loans has also claimed attorney-client privilege over documents

that Rosette sent to both Big Picture Loans and Ascension Technologies in the same

communication. (Ex. 1 at PRIV_0054-64). Big Picture Loans also has possession and claims

attorney-client privilege over documents that Rosette sent to the LVD Tribe or Tribal Officials.

(Ex. 2 at PRIV_0161-65, PRIV_0173, PRIV_0178, PRIV_0188-89, PRIV_0191-97, PRIV_0200-

204, PRIV_208). The waiver of attorney client privilege applies with equal force to these

documents unless Big Picture Loans, Ascension Technologies, and the LVD show a common

interest or joint defense privilege, which “permits parties whose legal interests coincide to share

privileged materials with one another in order to more effectively prosecute or defend their

claims[.]” Bethune-Hill v. Virginia State Bd. of Elections, 114 F. Supp. 3d 323, 347 (E.D. Va.

2015). Here, neither Big Picture Loans nor Ascension Technologies have even asserted a common

interest or joint defense privilege and, thus, they cannot satisfy their “burden of showing that the

attorney-client privilege applies, and that this privilege was not waived as to a third party because

of the operation of the common interest doctrine.” Id.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request the Court to enter an order

compelling production of all documents identified on Defendant Big Picture Loans, LLC’s




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privilege logs dated October 2, 2017, October 10, 2017, and October 13, 2017.

                                                   Respectfully submitted,
                                                   PLAINTIFFS

                                                   _____/s/ Kristi C. Kelly ____________
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of October, 2017, I will electronically file the
foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to all counsel of record.



                                              /s/ Kristi C. Kelly
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